                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


PHARMACISTS MUTUAL INSURANCE
COMPANY,                                              Case No. _____________

      Plaintiff,

vs.
                                                      DEFENDANT’S NOTICE OF
NAMIC INSURANCE COMPANY, INC.,                        REMOVAL

      Defendant.



       Defendant, NAMIC Insurance Company, Inc. (“NAMICO”), hereby gives notice of the

removal of this action pursuant to 28 U.S.C. § 1441 et seq. and Local Rule 81. Removal is in

accordance with 28 U.S.C. § 1441 et seq., as this Court would have had diversity jurisdiction

over this action under 28 U.S.C. § 1332(a). In support of its Notice of Removal, NAMICO states

as follows:

       1.      Plaintiff, Pharmacists Mutual Insurance Company (“PHMIC”), commenced a

civil action on November 16, 2020, captioned Pharmacists Mutual Insurance Company v.

NAMIC Insurance Company, Inc., in the Iowa District Court for Kossuth County, Case No.

LACV027507 (the “State Court Action”).

       2.      NAMICO has reviewed the state court’s docket and determined that the following

attached process and pleadings have been filed:

               -      Petition and Exhibits 1 – 6
               -      Affidavit of Identity
               -      Civil Original Notice
               -      Application for Admission Pro Hac Vice (Dennis Bartlett for Plaintiff)
               -      Acceptance of Service
               -      Order Denying Application for Admission Pro Hac Vice (Bartlett)

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               -       Application for Admission Pro Hac Vice (Bartlett)
               -       Order Approving Application for Admission Pro Hac Vice (Bartlett)
               -       Notice to Attorney Pro Hac Vice (Bartlett)
               -       Plaintiff’s Notice of Service

       3.      Defendant NAMICO received a courtesy copy of Plaintiff’s Petition on

November 17, 2020. NAMICO accepted service of Plaintiff’s Petition in the State Court Action

on November 30, 2020. In accordance with 28 U.S.C. § 1446(b), NAMICO timely filed this

Notice of Removal within 30 days of its receipt of Plaintiff’s Petition.

       4.      In the State Court Action, as set forth in the Petition, Plaintiff PHMIC claims that

NAMICO breached the applicable insurance contract and acted in bad faith because it did not

reimburse PHMIC for a portion of the amount of settlement it paid to an insured of PHMIC,

Kimberly Schock, in a breach of contract and bad faith case she had filed against PHMIC in

Colorado.

       5.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

for the reasons set forth below:

       a.      Complete diversity exists. The following statements were true on both the date

that Plaintiff filed its Petition (November 16, 2020) and the date that NAMICO filed its Notice of

Removal (December 15, 2020):

       1.      Plaintiff, Pharmacists Mutual Insurance Company, was incorporated in the State

               of Iowa with its principal place of business in Algona, Kossuth County, Iowa, and

               is a citizen of Iowa. (Plaintiff’s Petition, ¶ 1).

       2.      Defendant NAMICO was incorporated in the State of Indiana with its principal

               place of business in Indianapolis, Indiana, and is a citizen of Indiana. See 28

               U.S.C. § 1332(c)(1) (a corporation is a citizen of the state of its incorporation and

               the state of its principal place of business).

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        b.      The amount in controversy exceeds $75,000.00.           Based on the content of

Plaintiff’s Petition, NAMICO believes in good faith that the amount in controversy exceeds

$75,000.00, exclusive of costs and interest. Plaintiff refers to the amount in dispute in paragraphs

53 and 54 of its Petition, where it alleges that NAMICO made an unreasonable allocation when it

did not pay $500,000 of the $1,000,000 that Plaintiff PHMIC paid in settlement to Kimberly

Schock in the underlying contract case against PHMIC in Colorado. NAMICO satisfies its

burden to prove that the amount in controversy exceeds $75,000.00.

        The amount in controversy is measured by the “value to the plaintiff of the right sought to

be enforced.” Advance Am. Servicing of Ark. V. McGinnis, 526 F.3d 1170, 1173 (8th Cir. 2008).

See also Hatridge v. Aetna Cas. & Surety Co., 415 F.2d 809, 815 (8th Cir. 1969) (the amount in

controversy is the amount that the complainant seeks to recover or the sum that defendant will

lose if the complainant wins the suit). In other words, the amount in controversy is the amount

that Plaintiff will seek from a jury.

        Further, Plaintiff seeks punitive damages against NAMICO for bad faith. “Punitive

damages are included in determining the amount in controversy for diversity jurisdiction

purposes.” Varboncoeur v. State Farm Fire and Cas. Co., 356 F.Supp.2d 935 (S.D. Iowa 2005)

(Order on Motion to Remand) (citing Missouri ex rel. Pemiscot Co. v. Western Sur. Co., 51 F.3d

170, 173 (8th Cir. 1995); see also Crawford v. F. Hoffman-La Roche Ltd., 267 F.3d 760, 766 (8th

Cir. 2001) (“Punitive damages, of course, may be used to establish diversity jurisdiction”).

Although NAMICO denies that its conduct was wrongful or warrants an award of punitive

damages against it, punitive damages may be recoverable for bad faith. See Pogge v. Fullerton

Lumber Co., 277 N.W.2d 916, 920 (Iowa 1979); Stahl v. Preston Mut. Ins. Ass’n, 517 N.W.2d




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201, 203 (Iowa 1994). Therefore, when compiling all Plaintiff’s claims against NAMICO, the

amount in controversy exceeds $75,000.00.

       NAMICO reserves the right to amend and/or supplement this Notice of Removal.

       WHEREFORE, the Defendant, NAMIC Insurance Company, Inc., hereby removes the

State Court Action pending as Case No. LACV027507 in the Iowa District Court for Kossuth

County to this Honorable Court.

                                             LEDERER WESTON CRAIG PLC



                                             By: /s/ J. Michael Weston
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                                             ATTORNEYS FOR DEFENDANT
                                             NAMIC INSURANCE COMPANY, INC.




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the date indicated below, a true copy of the

foregoing instrument was served upon all parties in interest to the above-entitled cause by

enclosing the same in an envelope addressed to each party at each party’s respective address by

electronic mail. The parties in interest referred to above are:

                       Drew J. Gentsch, Esq.
                       Whitfield & Eddy, P.L.C.
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                       Des Moines, IA 50309
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                       Brosseau Bartlett Lieberman
                       6455 South Yosemite Street, Suite 750
                       Greenwood Village, CO 80111
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                       ATTORNEYS FOR PLAINTIFF


       Executed this 15th day of December, 2020, in Cedar Rapids, Iowa.


                                          /s/ J. Michael Weston




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